     Case 2:07-cr-02115-EFS    ECF No. 225   filed 02/07/08   PageID.563 Page 1 of 1




1                              UNITED STATES DISTRICT COURT
2                             EASTERN DISTRICT OF WASHINGTON
3     UNITED STATES OF AMERICA,                 )
                                                )    NO. CR-07-2115-EFS-3
4                       Plaintiff,              )
                                                )    ORDER GRANTING MOTION TO
5           v.                                  )    REOPEN DETENTION (Ct Rec.
                                                )    208) AND DENYING REQUEST FOR
6     MIGUEL OYOS                               )    RELEASE
                                                )
7                       Defendant.              )
                                                )
8
9          On February 7, 2008, this court held a bail review hearing.

10   Jane Kirk appeared for the government.              Defendant was present with

11   counsel Nicholas Marchi.

12         The defendant made a motion to reopen detention.

13         The Court granted defendant’s motion to reopen detention (Ct

14   Rec. 208).

15         Counsel for the defendant requested the release of defendant

16   on conditions.

17         The government argued there are no conditions which will

18   reasonably assure defendant’s appearance as required.

19         The Court found there remains an absence of condition or

20   conditions that could be imposed that would reasonably assure this

21   defendant's presence at trial.

22         The Court denied defendant’s request for release on

23   conditions.     Specifically, defendant needs to complete in-patient

24   treatment before release can occur.

25         IT IS SO ORDERED.

26         DATED this 7th day of February, 2008.

27
                                            s/ James P. Hutton
28                                             JAMES P. HUTTON
                                        United States Magistrate Judge
     ORDER GRANTING MOTION TO REOPEN DETENTION
     AND DENYING REQUEST FOR RELEASE- 1
